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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 ROBERT AMBROSE, SCOTT
 BARNES, RICHARD CHAPMAN,
 RYAN CIRIGNANO, CHRIS
 FAUSSETT, MILAN GRUJIC, DAVID
 KELLER, JOHN KOBEL, DANIEL
 LAWSON, STEPHEN LUTSK, LORI            Case No.: 4:19-cv-13449
 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
 OVERTURF, and MIKE WORONKO,
 on behalf of themselves and all others
 similarly situated,

             Plaintiffs,

       v.

 GENERAL MOTORS LLC,

             Defendant.


       PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

      Counsel for Plaintiffs in the above-referenced matter write to inform the Court

of a recent ruling in the Eastern District of Michigan regarding General Motors

LLC’s (“GM’s”) motion to dismiss in Chapman, et. al. v. General Motors LLC, No.

2:19-cv-12333-TGB-DRG (E.D. Mich.), which involves multistate allegations

regarding a defective CP4 fuel pump. The opinion is attached hereto as Exhibit A.

      On March 31, 2021, the Honorable Terrence G. Berg granted in part and

denied in part GM’s motion to dismiss Plaintiffs’ Second Amended Complaint in
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Chapman. Many of the issues considered and ruled upon by Judge Berg in Chapman

are also at issue in GM’s pending motion to dismiss.

      First, the Court in Chapman rejected GM’s argument that plaintiffs’ claims

under Michigan law were time barred. The Court held that allegations of active

concealment, which equitably tolled the limitations period, allowed the Michigan

plaintiff’s claims to proceed. Ex. A at 67-69. Plaintiffs have argued the same in this

case. ECF No. 32, PageID.1554.

      Second, the Court in Chapman rejected GM’s argument that plaintiffs had

failed to allege the vehicles were unmerchantable because plaintiffs continued to

drive their vehicles. Ex. A at 20-22. Instead, it held that plaintiffs had adequately

alleged the vehicles were unmerchantable because they were not “safe and reliable.”

Id. at 21. Plaintiffs have argued the same in this case. ECF No. 32, PageID.1562-65.

      Third, the Court in Chapman rejected GM’s argument that certain plaintiffs

had failed to provide pre-suit notice and found that plaintiffs’ presentment of their

vehicles to GM dealerships satisfied the pre-suit notice requirements under the laws

of Alabama, Florida, Illinois, Maryland, Montana, New York, Pennsylvania,

Virginia. Ex. A. at 26-31. Plaintiffs here have alleged that all Plaintiffs except for

one presented their vehicles at GM dealerships or inquire about repairs to alleviate

the defect. ECF No. 32, PageID.1567.
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      Fourth, the Court in Chapman ruled that plaintiffs could bring unjust

enrichment claims in the alternative and that these claims should not be dismissed at

the motion to dismiss stage. Ex. A. at 69-70. Plaintiffs have argued the same in this

case. ECF No. 32, PageID.1572-73.

      Finally, the Court in Chapman rejected GM’s argument that plaintiffs did not

have standing to bring claims in states for which there was no named plaintiff, noting

that “Plaintiffs’ complaint is about the CP4 pump and its effects on truck engines,

which is alleged to cause harm and is common to all class members, no matter

exactly which truck they bought or what the terms of their state consumer protection

laws are. The general wrongdoing GM is accused of applies to the Named Plaintiffs

and the absent putative class members alike, making the class certification question

logically antecedent to the Article III standing question.” Ex. A, at 15-16. Again, the

Plaintiffs have argued the same in this case. ECF No. 32, PageID.1573-75.

DATED: May 10, 2021                     Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that on May 10, 2021, I electronically filed the foregoing

document using the ECF system which will send notification of such filing to all

attorneys of record.

                                           Respectfully submitted,


                                           /s/ E. Powell Miller
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